
PER CURIAM.
This interlocutory appeal questions the correctness of a partial summary judgment rendered in favor of appellees.
The record on appeal fails to conclusively establish that there was no genuine triable issue of a material fact under the issues as made by the complaint and the answer thereto. Under these circumstances, appel-lees were not entitled to a partial summary judgment as a matter of law, and the trial court erred in holding to the contrary.
*842The partial summary judgment appealed is reversed and the cause remanded to the trial court for the purpose of receiving evidence on the issues as made by the pleadings, and rendering final judgment thereon.
Reversed and remanded.
McCORD, C. J., and MILLS and ERVIN, JJ., concur.
